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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                           (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
                               v.
                                                                           Criminal Number: 2:06CR00046-02

            PAUL WESLEY DEMPSTER
                      (Defendant’s Name)                                   Carl Larson, Appointed
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1 and 3 as alleged in the violation petition filed on 9/22/2009 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                      Date Violation Occurred
1                                    NEW CRIMINAL CONDUCT - DRIVING                           8/1/2009
                                     WHILE INTOXICATED
3                                    USE OF A CONTROLLED SUBSTANCE                            8/6/2009



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 10/4/2006 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]      Upon motion made by the Government, Charges 2 and 4 are dismissed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                 November 16, 2009
                                                                 Date of Imposition of Sentence



                                                                  Signature of Judicial Officer


                                                                 WILLIAM B. SHUBB, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 November 18, 2009
                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:06CR00046-02                                                                Judgment - Page 2 of 3
DEFENDANT:                 PAUL WESLEY DEMPSTER


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of four (4) months, with no further supervision to follow. .




[]       The court makes the following recommendations to the Bureau of Prisons:

[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                       Case 2:06-cr-00046-WBS Document 95 Filed 11/18/09 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:06CR00046-02                                                                             Judgment - Page 3 of 3
DEFENDANT:                    PAUL WESLEY DEMPSTER


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                         Fine                    Restitution
       Totals:                                           $                               $                          $


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                 Restitution Ordered Priority or Percentage


       TOTALS:                                           $                              $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
       on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                 [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[U] If incarcerated, payment of any remaining court-ordered monetary penalties is due during imprisonment at the rate of
    not less than $25 per quarter and payment shall be through the Bureau of Prisons Inmate Financial Responsibility
    Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
